Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 1 of 23

United States Courts
Southern District of Texas
FILEO

. IN THE UNITED STATES BANKRUPTCY COURT OCT 15 2018
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION DAA I. Brealey, Cheval Court
IN RE:  g
§
H.C. JEFFRIES TOWER § CASE NO. 17-35027-H5-11
COMPANY, INC. § (Chapter 11)
Debtor §
§
FORD STEEL, LLC. § CASE NO. 17-35028
Debtor § (Chapter 11)
§ JUDGE RODRIGUEZ
§
§ JOINTLY ADMINISTERED UNDER
§ CASE NO. 17-35027-H5-11

 

Debtor H.C. Jeffries Tower Company, Inc.’s
Second Amended Plan of Reorganization

 

H.C. JEFFRIES TOWER COMPANY, INC., Debtor herein, files this Second Amended

Plan of Reorganization.

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Table of Contents
Topic ‘Page
De finitions.........cccsssccsssscessessescssseesceseseesacesaesceesnscesescesaesossassassaseseeaesaaesseeesensesesasesaeaseesssesossnesoseaees 2
Classes of Creditors and Specific Treatment of Claims .........sccesssseesesceseesecsesssseseesseseseeseteeseseaeess 5
Specification of All Claims Impaired and Not Impaired under the Plan... tessa L
Modification of Plan 0.0... eesesescssesscceseseseeescesssceseessesecseassoseaseseesseseaeessescoesesesssessonsenseatseonseesoreees 11
Means for Implementing and Effectuating the Plan .............esessssseesecesseesecesecseeeesseeeseeneeseteneeenees 11
Reservation Of Rights..........cccscssscssscsccsssecssccsssesseeesessseeesecenesesesesetsasessesessesaceasevsnenssesaseesserasenesenees 11

_ Plan of Reorganization - HC Jeffries Tower Company , Page 1
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 2 of 23

Rejection of Executory Contract 00... csssssssssescesesesscescessceesoseesecassesesscsasenssesneeseeacsseeeesseseeeeseeeaes 12
Bar Dates for Filing Proofs of Clatim.........c.cscessescseccssesseseesssesesecscscesesecesassoeensessssaeseesaneeeseaesasenenes 12
Transfer Of Claims ..........cescsssssscscesceeceeseeseeseeeaseseeasenaesoesocenaeeasenneseseeses eovaneseesossaeeaceacesesaeeeceseeoenes 13
Specific Consideration in Voting..........:ccscsscssessssssscescssesessecscsseeceeeseeeesesseseeesesesaeseeaseaseaeseeseenseesenes 13
Effect of Confirmation... eseesevsnenseseccasesenseevasesesssosacesessecuescasesecssesteenecserasoeaeaneas 14
Jurisdiction of the COurt.........cccscssssssssssssessesssssessessssessssssssssessssussssessssussessesasenssnesucsnssecsesssanesessecaes 15
Miscellaneous ProviSins............csssssssesseccscsseeeesseeeessecesesessesesssensasssessossanesusacaesesesasenanseasssseosacnas 16
Interim Operations oo... escsssssssesscesssesescssesssesecesessesesassesacsesesseseseesesacassesaseneasacseceaeessseeeaseasaneesasas 17
I.
Definitions

The following terms, when used in the Plan, shall unless the context otherwise requires,
have the following meanings, respectively:

1, "Allowed Amount" shall mean the dollar amount of a claim approved and allowed
by final order of the Bankruptcy Court or through the filing of a proof of claim which has not been
disallowed by the Bankruptcy Court.

2. "Bankruptcy Code" is the Bankruptcy Code of 1978 as contained in Title 11 U.S.C.
Section 101 et seq. and amendments thereto.

3. "Bar Date" is the deadline previously established by the court, after which any
proof of claim filed will have no effect on this Plan and no right to participate with other creditors
under the Plan. Pursuant to the Notice of Meeting of Creditors promulgated by the Court, the bar
date occurs 90 days after the first date set for the meeting of creditors. In the instant case, the

meeting of creditors in the Chapter 11 Proceeding was held on October 26, 2017, and the bar date

Plan of Reorganization - HC Jeffries Tower Company Page 2
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 3 of 23

is January 24, 2018 for creditors and April 2, 2018 for governmental entities.

4, "Claim" shall mean a right to payment from the Debtor’s Estate, which is evidenced
by a timely filed Proof of Claim which is allowed by the Court, or if a Proof of Claim is not filed by
the creditor, a right which otherwise appears in the Debtors’ bankruptcy schedules and (i) is not
listed as disputed, contingent or unliquidated, (ii) has not been resolved by Final Order of the Court
in this reorganization case or, (iii) which has been otherwise satisfied.

5. "Class" shall mean any class into which Claims are classified pursuant to Section II.

6. "Confirmation" shall mean the entry by the Bankruptcy Court of an order
confirming the plan in accordance with Chapter 11 provisions of the Bankruptcy Code.

7. "Confirmation Date" shall mean the date set by the Court pursuant to §1128 of the
Bankruptcy Code for hearing on confirming the Plan on which the Court determines that the Plan
meets the requirements of Chapter 11 of the Bankruptcy Code and is entitled to confirmation.

8. “Consummation” shall mean the date upon which the Debtor makes its first
payment to creditor(s) under a confirmed plan.

9. "Creditors" shall mean all creditors of the Debtors holding claims for debts,
liabilities, demands or claims of any character whatsoever, as defined in §101(4) of the
Bankruptcy Code.

10. "Creditors Committee" shall mean that Creditors Committee appointed by order of
the Court, the members thereof and any successor members. In the instant proceeding, the U.S.
Trustee’s office determined that it was unable to form a Creditors Committee.

11. "Court" shall mean the United States Bankruptcy Court for the Southern District of
Texas, Houston Division, presiding over the reorganization case, or, if necessary, the United States

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Plan of Reorganization - HC Jefities Tower Company Page 3
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Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 4 of 23

District Court for said District and Division having original jurisdiction over the reorganization
case. |

12. "Debtor" shall mean H.C. Jeffries Tower Company, Inc.

13. “Disbursing Agent" shall mean Herbert C. Jeffries.

14. “Disclosure Statement” shall mean the Debtor’s Disclosure Statement.

15. "Discharge" shall mean that completion of the Plan is intended to, will, and does
fully discharge the Debtor as provided in Section 1141(d) of the Bankruptcy Code and the Plan
does not provide for exceptions to discharge under 1141(d)(3), except as to any post-petition
claims. The Debtor shall not receive a discharge as it is a corporation.

16. "Effective Date" shall mean the thirtieth day following the date of the order
confirming the plan, if no notice of appeal is timely filed, or if a notice of appeal is filed, during
which time no motion for stay pending appeal is granted or supersedeas bond is approved and
filed; but, in the event a stay is granted or supersedeas bond is approved and filed, then it shall be
the date on which the order confirming plan is a final order.

17. "Final Decree" shall mean the order of the Court entered after all payments and
distributions of monies called for under the Plan have been made (i) discharging the Trustee, if
any, and canceling his bond, (ii) making provision by way of injunction or otherwise as may be
equitable, and (iii) closing the reorganization case.

18. "Final Order" shall mean an order of the Court which, not having been reversed,
modified or amended and not being stayed, and the time to appeal from which or to seek review or
rehearing of which having expired, has become conclusive of all matters adjudicated thereby and
is in full force and effect.

XX

Plan of Reorganization - HC Jeffries Tower Company Page 4
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 5 of 23

19. "Lien" shall mean mortgage, pledge, judgment lien, security interest, charging
order, or other charge or encumbrance on property which is effective under applicable law as of the
date of the commencement of the reorganization case.

20. +"Plan" shall mean this Plan of Reorganization in its present form or as it may be

amended, modified or supplemented.

22. "Pro Rata Share" shall mean the amount which is the result of multiplying the
monies available for distribution to a named class of creditors by that fraction in which the
numerator is the allowed amount of a particular claim in the named class and the denominator is

the total of the amounts of all the claims in the named class.

23. “Reorganized Debtor” shall mean the new company created on the effective date of
the Plan.
24. "Secured Claim" shall mean the claim of any creditor secured by liens on property,

which liens are valid, perfected, and enforceable under applicable law, and are not subject to
avoidance under the Bankruptcy Code or other applicable non-bankruptcy law, and are duly
established in this case, to the extent of the value of the security, as determined in accordance with
§506 of the Bankruptcy Code.

25. "Unsecured Claims" shall mean all business claimants or other claimants of any
nature, holding claims for unsecured debts, liabilities, demands or claims of any character
whatsoever.

26. "Unsecured Creditor" shall mean the holder of an unsecured claim.

Plan of Reorganization - HC Jeffries Tower Company . Page 5
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 6 of 23

IL.
Classes of Creditors
and Specific Treatment of Claims

The Plan of Reorganization proposes the continuation of the Debtor’s business utilizing the
profits to fund the plan over a 5 to 10 year period.

The Debtor's Plan of Reorganization will provide for classification of creditors in
accordance with the United States Bankruptcy Code.

Class 1- Administrative Expenses - Legal Fees. Class 1 is unimpaired. Class 1 are
Claims entitled to priority by Section 507(a)(2) of the Bankruptcy Code and will consist of fees
and expenses incurred by the Court appointed Counsel. These fees are incurred prior to the
effective date of the Plan, as the same are finally-approved and allowed by final order of the Court,
and any other expenses incurred during the course of the Chapter 11 proceeding that have not yet
been paid. The members of this class are Cooper & Scully, PC, Counsel for the Debtor.

Pursuant to 11 U.S.C. §503(b)(1)(D), the Internal Revenue Service is not required to file an
application for the allowance of administrative tax expenses.

All claims in this class shall be paid in cash and in full in such amounts as may be allowed
and approved by the Court on the effective date or after such claims are finally allowed, whichever
is later, by the Debtor to the extent of available funds, or such claims may be paid in accordance
with any agreement or waiver. In either event, claims in this class shall be paid in full within the
one (1) year period of the initial plan. The anticipated total expenses to,be paid in this class are
anticipated to be $70,000 to $75,000.00. -

Class 2 - The United States Trustee. Class 2 is unimpaired and consists of the

post-confirmation claim of the office of the United States Trustee for its fees from the date of

Plan of Reorganization - HC Jeffries Tower Company Page 6
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 7 of 23

confirmation until the Chapter 11 file is closed by the Bankruptcy Clerk. These fees are based on
the amount of disbursements made by the Debtor and are paid on a quarterly basis. The
reorganized Debtor shall be responsible for timely payment of the United States Trustee quarterly
fees incurred pursuant to 28 U.S.C. §1930(a)(6). Any fees due as of the date of confirmation of
the plan will be paid in full on the effective date of the plan. After confirmation, the reorganized
Debtor shall pay United States Trustee quarterly fees as.they accrue until this case is closed by the
Court. The Debtor shall file with the Court and serve on the United States Trustee a quarterly
financial report for each quarter (or portion thereof) that the case remains open in a format
prescribed by the United States Trustee.

All pre-confirmation quarterly fees shall be paid by the effective date of the Plan.

Class 3 - Priority Claim of the Internal Revenue Service. Class 3 is impaired and
consists of the priority claim of the Internal Revenue Service in the amount of $900,630.77, with
interest at the rate of 5%. This claim will be paid in equal monthly installments of $24,479.34
within five years from the date of filing’. The first payment shall be made on the 15" day of the
first full month of the first full quarter following the effective date of the plan and continue until
paid in full. The first payment is estimated to be on January 15, 2019.

If the reorganized debtor defaults on the plan payments due to the IRS, the outstanding
balance is immediately due and payable. Payments shall be for the entire amount owed to the
IRS under the plan. The IRS may collect these unpaid tax liabilities through the administrative

collection provisions of Title 26 of the Internal Revenue Code. .

 

1 The five year period begins on the filing date although the payments do not begin until after the effective date.
This payment amount is presuming payments begin in July of 2018. Ifthe actual payments begin after July of 2018,
the amount of the payments will be adjusted upwards to ensure that all payments in this Class are made within 5 years
of the filing date.

Plan of Reorganization - HC Jeffries Tower Company Page 7
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 8 of 23

Class 4A - Secured Claims of the Texas Workforce Commission. Class 4A is
impaired and consists of the secured claim of the Texas Workforce Commission in the total
amount of $3,035.11 with interest at the rate of 6%. The lump sum payment shall be made on the
15" day of the first full month of the first full quarter following the effective date of the plan. The
first full month is estimated to be January, 2019. In the event that the payment is later than
September of 2018, additional interest at the rate of 6% will be included in the payment. Upon
confirmation, Counsel for the Texas Workforce Commission shall calculate and inform the Debtor
of the exact amount of the payment.

Notwithstanding anything else to the contrary in the Plan or this Confirmation Order, these
provisions will govern the treatment of the claims of the Texas Comptroller of Public Accounts
and Texas Workforce Commission, (collectively the “Texas Taxing Authorities”): (1) nothing
provided in the Plan or this Confirmation Order shall affect or impair any statutory or common law
setoff rights of the Texas Taxing Authorities in accordance with 11 U.S.C. § 553; (2) nothing
provided in the Plan or this Confirmation Order shall affect or impair any rights of the Texas
Taxing Authorities to pursue any non-debtor third parties for tax debts or claims; (3) nothing
provided in the Plan or this Confirmation Order shall be construed to preclude the payment of
interest on the Texas Taxing Authorities’ administrative expense tax claims; (4) to the extent that
interest is payable with respect to any administrative expense, priority or sécured tax claim of the
Texas Taxing Authorities, the interest rate shall be 5.5% per annum; and (5) the Texas Taxing
Authorities are not required to file a motion or application for payment of administrative expense
claims; the Texas Taxing Authorities’ administrative expense claims are allowed upon filing,

subject to objection on substantive grounds.

Plan of Reorganization - HC Jeffries Tower Company Page 8
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 9 of 23

A failure by the Debtor or Reorganized Debtor to make a plan payment to an agency of the
State of Texas shall be an Event of Default. Ifthe Debtor or Reorganized Debtor fails to cure an
Event of Default as to an agency of the State of Texas within ten (10) days after service of a written
notice of default, then that agency may (a) enforce the entire amount of its claim; (b) exercise any
and all rights and remedies available under applicable non-bankruptcy law; and (c) seek such relief
as may be appropriate in this court. The Debtor and/or Reorganized Debtor can receive up to
three (3) notices of default, however, the third default cannot be cured.

The terms set forth herein shall govern the treatment of the claims of the Texas Taxing ”
Authorities notwithstanding anything to the contrary in the Plan or Confirmation Order”.

Class 4B - Secured Claim of Montgomery County. Class 4B is impaired and consists
of the secured claim of Montgomery County in the amount of $4,240.08 as of October 31, 2018,
plus interest at the rate of 12%. This claim will be paid in equal quarterly installments of
$1,164.70 over a one year period. The first payment shall be made on the 15" day of the third
full month of the first full quarter following the effective date of the plan and continue until paid in
full.

Upon confirmation, Counsel for Montgomery County shall calculate and’ inform the

Debtor of the exact amount of the payments.

The claimant in this class shall retain all statutory liens on the Debtor’s property.
Post-petition secured ad valorem taxes will be paid in the ordinary course of business and failure to
‘do so shall result in a default under the terms of the confirmed Plan.

Default of the Plan shall be defined as the failure of the proponent of the plan to make

Plan of Reorganization - HC Jeffries Tower Company Page 9
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 10 of 23

payments or perform any action required to be made under the terms of the confirmed plan.

In the event of a default, there will be full reinstatement of the administrative collection
powers and rights of this ad valorem Taxing Authority as they existed prior to the filing of the
bankruptcy petition in this case, including, but not limited to, the assessment of taxes, the filing of
Notices of Tax Liens and the powers of levy, seizure and sale.

Class 4C - Secured Claim of the Texas Comptroller of Public Accounts. Class 4C is
impaired and consists of the secured claim of the Texas Comptroller of Public Accounts in the
amount of $23,643.51 with interest at the rate of 5.5%. This claim will be paid in equal
quarterly installments of $6,088.44 over a one year period. The first payment shall be made on
the 15" day of the first full month of the first full quarter following the effective-date of the plan
and continue until paid in full. |

Notwithstanding anything else to the contrary in the Plan or this Confirmation Order, these
provisions will govern the treatment of the claims of the Texas Comptroller of Public Accounts
and Texas Workforce Commission, (collectively the “Texas Taxing Authorities”): (1) nothing
provided in the Plan or this Confirmation Order shall affect or impair any statutory or common law
setoff rights of the Texas Taxing Authorities in accordance with 11 U.S.C. § 553; (2) nothing
provided in the Plan or this Confirmation Order shall affect or impair any rights of the Texas
Taxing Authorities to pursue any non-debtor third parties for tax debts or claims; (3) nothing
provided in the Plan or this Confirmation Order shall be construed to preclude the payment of
interest on the Texas Taxing Authorities’ administrative expense tax claims; (4) to the extent that
interest is payable with respect to any administrative expense, priority or secured tax claim of the

Texas Taxing Authorities, the interest rate shall be 5.5% per annum; and (5) the Texas Taxing

Plan of Reorganization - HC Jeffries Tower Company Page 10
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 11 of 23

Authorities are not required to file a motion or application for payment of administrative expense
claims; the Texas Taxing Authorities’ administrative expense claims are allowed upon filing,
subject to objection on substantive grounds.

A failure by the Debtor or Reorganized Debtor to make a plan payment to an agency of the
State of Texas shall be an Event of Default. Ifthe Debtor or Reorganized Debtor fails to cure an
Event of Default as to an agency of the State of Texas within ten (10) days after service of a written
notice of default, then that agency may (a) enforce the entire amount of its claim; (b) exercise any
and all rights and remedies available under applicable non-bankruptcy law; and (c) seek such relief
as may be appropriate in this court. The Debtor and/or Reorganized Debtor can receive up to
three (3) notices of default, however, the third default cannot be cured.

The terms set forth herein shall govern the treatment of the claims of the Texas Taxing
Authorities notwithstanding anything to the contrary in the Plan or Confirmation Order”.

Class 4D - Secured Claim of The Bank & Trust of Bryan/College Station. Class 4D
is impaired. It consists of the Secured Claim of The Bank & Trust of Bryan/College Station (the .
“Bank”) in the allowed amount of $678,078.16 as of the date of filing with interest at the rate of
8% over ten (10) years. The Bank retains a blanket first lien on all Debtor’s personal property.
Such personal property consists of all Debtor’s fixtures, furniture, equipment, inventory, accounts,
chattel paper, general intangibles, whether any of the foregoing is owned now or acquired later; all
accessions, additions, replacements, and substitutions relating to any of the foregoing; all records
of any kind related to any of the foregoing; and all proceeds relating to any of the foregoing
(including insurance, general intangibles, and other account proceeds). The Bank also retains a

blanket first lien on all the jointly-administered Debtor Ford Steel, LLC’s furniture, fixtures, .

Plan of Reorganization - HC Jeffries Tower Company \ Page 11
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 12 of 23

equipment, inventory, accounts, chattel paper, general intangibles, whether any of the foregoing is
owned now or acquired later; all accessions, additions, replacements, and substitutions relating to
any of the foregoing; all records of any kind related to any of the foregoing; and all proceeds
relating to any of the foregoing (including insurance, general intangibles, and other account
proceeds). The Bank also retains a second lien on the jointly-administered Debtor Ford Steel,
LLC’s real estate with improvements. The Bank’s liens against the Debtor’s personal property
and the jointly-administered debtor Ford Steel, LLC’s real and personal property shall be released
only upon the irrevocable payment in full of the Class 4C Allowed Secured Claim as described in
the j ointly-administered Debtor’s plan of reorganization.

The Bank’s claim shall be treated in accordance with Class 4C of the jointly-administered
debtor Ford Steel, LLC’s plan or reorganization. However, should the jointly-administered debtor
Ford Steel, LLC default in payments to the Bank under that debtor’s plan of reorganization, the
injunction under this Debtor’s Plan and the injunction under the jointly-administered debtor’s plan
of reorganization shall lift to allow the Bank to foreclose on its collateral owned by this Debtor and
the jointly-administered debtor under applicable state law. However, the Bank shall foreclose
on its collateral held by Ford Steel first, applying the proceeds of the sale of that collateral to the
Bank’s claim. If the Bank’s claim is not fully satisfied from the proceeds of the sale of the Ford
Steel collateral, the Bank may then proceed to forclose on its collateral owned by this Debtor
unless other payment arrangements, acceptable to Bank, are offered by this Debtor.

Until such time as the Bank’s claim is paid in full, the Debtor shall provide the Bank by the
tenth day of each month, through its counsel, with monthly balance sheets, income statements,

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cash flow statements, and reports of the Debtor’s Accounts Receivable as of the last day of the

Plan of Reorganization - HC Jeffries Tower Company ~ Page 12
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 13 of 23

preceding month. Such accounts receivable reports shall contain the entity owing the money to the
Debtor, the amount each entity owes the Debtor, and contact information including telephone
number and mailing address of each entity.

Class 4E - Secured Claim of The Internal Revenue Service. Class 4E is impaired and.
consists of the secured claim of the Internal Revenue Service (“IRS”) amount of $777,929.16.

This claim will be paid in equal monthly installments of $21,144.28 with interest at the rate
of 5% within five years from the date of filing. The first payment shall be made on the 15" day
of the first full month of the first full quarter following the effective date of the plan and continue
until paid in full, a period of 43 months. The IRS shall retain its liens on the Debtor’s personal
property.

If the reorganized debtor defaults on the plan payments due to the IRS, the outstanding
balance is immediately due and payable. Payments shall be for the entire amount owed to the
IRS under the plan. The IRS may collect these unpaid tax liabilities through the administrative
Gollection provisions under Title 26 of the Internal Revenue Code.

Class 5 - Unsecured Claims under $1,000.01. Class 5 is impaired and consists of the
unsecured claims under $1,000.01. There are 2 claims in this class for a total of $1,607.43. The

claimants in this class are:

1, NDLCHICago.......cescscsscsscscssesssscssesesesscsecscsaesesseecssesssesasscsacsessesesaeensesaesseeeses $ 665.88

2. NOtt, Ltd.......ccceccssssssssssssessesscssssssesecstesseeseessensecseessessessesatesesnusereseeseessessacansess 941.55
Total ....ecescsssescecssesssessrsssesseesceeseevanevennscsesssecsesesseeseecsuseneessesessesseecsuceseseessaresuenss $1,607.43

These claims shall be paid in full on the first full month of the first fill quarter following the
effective date of the Plan.

Any member of Class 6 who agrees to reduce their claim to $1,000.00 may elect to be

Plan of Reorganization - HC Jeffries Tower Company Page 13
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 14 of 23

treated in Class 5 of the Plan. The election to accept treatment in Class 5 shall be made in
writing on the ballot. The election to be treated in Class 5 by a Class 6 creditor is an election to
accept $1,000.00 in full satisfaction of their entire claim.

Class 6 - Unsecured Claims over $1,000.00. Class 6 is impaired and consists of the

 

unsecured claims over $1,000.00. These claims total approximately $1,278,569.25. These
claims shall be paid 100% of their claims in equal quarterly installments over a 5 year period.
The first payment shall be made on the 15" day of the third full month of the first full quarter
following the effective date ofthe plan. | The anticipated quarterly installment to these creditors
is in the amount of $63,928.46.

Any member of Class 6 who agrees to reduce their claim-to $1,000.00 may elect to be
treated in Class 5 of the Plan. The election to accept treatment in Class 5 shall be made in
writing on the ballot. The election to be treated in Class 5 by a Class 6 creditor is an election to
accept $1,000.00 in full satisfaction of their entire claim.

Class 7 - Equity Security Holders. Class 7 is impaired and consists of the equity
security holder of the Debtor, Herbert Jeffries. During the term of the plan payments under the
confirmed plan, Herbert Jeffries shall operate the Debtor and insure that all payments under the
plan are paid. As the Debtor is paying 100% to the unsecured creditors, he will retain is 100%
interest in the Reorganized Debtor.

II.

Specification of All Claims Impaired and
Not Impaired under the Plan

Classes 1 & 2 are unimpaired under the Plan. Classes 3, 4A, 4B, 4C, 4D, 4 E, 5, 6 & 7 are

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Plan of Reorganization - HC Jeffries Tower Company Page 14
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 15 of 23

impaired under the Plan.

IV.
Modification of Plan

The Plan may be amended or modified by the Debtor with the approval of the Court after
notice and hearing. Ifthe Court finds after hearing on notice to any committee appointed under
the Code and any other person designated by the Court that the proposed modification does not
adversely change the treatment of the claim of any creditor or the interest of any equity security
holder who has not accepted in writing the modification, it shall be deemed accepted by all

creditors and equity security holders who have previously accepted the Plan.

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V.
Means for Implementing and Effectuating the Plan

Implementation of the Plan requires entry of an order by the Bankruptcy Court confirming
the Plan. The Plan is to be implemented, if accepted and approved by the Bankruptcy Court, in its
entire form. The Plan of Reorganization proposes to continue the Debtor’s operations and
utilize the profits to fund the Classes over a 5 - 10 year period.

VI.
Reservation of Rights

Neither the filing of the Plan, nor any statement or provision contained herein, nor the
taking by the Debtor or any creditor of any action with respect to the Plan shall (i) be or be deemed
to be an admission against interest and (ii) until the effective date, be deemed to be a waiver of any
rights which the Debtors might have against a creditor, and until the effective date all such rights
are expressly and specifically reserved. In the event that the effective date does not occur, neither

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the Plan nor any statement contained therein may be used or relied upon in any manner in any suit,

Plan of Reorganization - HC Jeffries Tower Company Page 15
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 16 of 23

action, proceeding or controversy within or outside of the reorganization case.

Vil.
Rejection of Executory Contracts

The Debtor rejects all unassumed leases and executory contracts except for the lease
agreement with Ford Steel which will be assumed. .

VII.
Bar Dates for Filing Proofs of Claim

Any creditor desiring to receive a distribution under the provisions of this Plan, and whose
claim is not evidenced by a court order or set forth on the Debtor's schedules, must have filed a
proof of claim or request for compensation with the Bankruptcy Court not later than January 24,
201 8, or April 2, 2018, for governmental entities. This bar date was set by the Bankruptcy Court
and noticed to all creditors pursuant to the Notice of Creditor's Meeting.

The Debtor has filed as a part of its schedules a list of all creditors, setting forth the identity
of each creditor and an indication of the amount due each creditor. Unless a claim is listed as
disputed, contingent or unliquidated, each creditor's claim will be allowed in the amount and status
stated on the Debtor's schedules. Any creditor must have filed a proof of claim in a different
amount or status not later than January 24, 2018, or April 2, 2018, for governmental entities.
Failure to file a timely proof of claim will force a creditor to accept the amount of his/her claim as
‘listed on the Debtor's schedules.

Claims listed as disputed, contingent, or unliquidated will not be allowed unless a
proof of claim with all supporting documents was filed prior to January 24, 2018. In the
event a creditor has filed a proof of claim in these proceedings with which the Debtor disagrees,

the Debtor has the option to file an objection to that claim and request the Court to determine the
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Plan of Reorganization - HC Jeffries Tower Company : Page 16
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 17 of 23

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true value of the claim. The Debtor shall attempt to resolve all objections to claims prior to
confirmation. However, the Reorganized Debtor shall have 60 days from the effective date of the
plan to file objections to claims.

Any proof of claim for a debt listed on the Debtor's Schedules as disputed, contingent, or
unliquidated which is not timely filed shall be of no force and effect. No distribution will be
made to any creditor that has not timely complied with this provision.

Ix. .
Transfer of Claims

In the event that any creditor shall transfer its claim, it shall do so only in compliance with
Bankruptcy Rule 3001, and it shall promptly notify the Debtor in writing of such transfer. The
Debtor shall be entitled to assume that no such transfer of any claim has been made by any creditor
until after compliance and receipt of notice. Each transferee of any claim shall take the claim ~
subject to the provisions of the plan and to any request made, waiver or consent given, or other
action taken under the Plan; and except as expressly otherwise provided in the notice. The Debtor
shall be entitled to assume conclusively that the transferee named in the notice shall thereafter be
vested with all rights and powers under the Plan of the transferor with respect thereto.

X.
Specific Consideration in Voting

All of the foregoing give rise in the instant case to the following implications and risks
concerning the Plan. |

1. While the Plan provides for certain payments at confirmation, such payments will
only apply to allowed claims including claims arising from defaults. Under the Bankruptcy Code

a claim may not be paid until it is allowed. A claim will be allowed in the absence of objection.

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Plan of Reorganization - HC Jeffries Tower Company Page 17
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 18 of 23

2. A claim, including a claim arising from default, which has been objected to, will be
heard by the Court at a regular evidentiary hearing and allowed in full or disallowed in full or in
part. While the Debtor bears the principal responsibility for claim objections, any interested party,
including the creditors committee, may file claim objections. Accordingly, payment on some
claims, including claims arising from defaults, may be delayed until objections to those claims are
ultimately settled.

XI.
Effect of Confirmation

Upon the date of the final order confirming the Plan:
(A) Confirmation of the Plan shall enjoin the creditor from collecting any indebtedness
from the Debtor or any company owned by the Debtor outside of the confirmed
Plan, whether or not they have accepted they have accepted the Plan;
(B) Except as otherwise provided in the Plan, all of the property of the estate shall vest in
the Debtor;
A. Litigation Injunction
Upon confirmation of the Plan, an injunction shall issue which prohibits all claimants
(whether allowed or not) from pursuing claims in any forum outside this bankruptcy court if such
claim is arises out of the actions of the Debtor. This injunction shall issue notwithstanding any
provision to the contrary in any contract involving the Debtor, for which the Debtor, an insider or
affiliate, or a creditor of this estate may be liable, so long as the Debtor is not in Default under the
Plan,
Upon confirmation of the Plan, in addition to all other relief allowed by the Bankruptcy

Code, an injunction shall issue against all holders of claims preventing the enforcement of the claim
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Plan of Reorganization - HC Jeffries Tower Company Page 18
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 19 of 23

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except as specifically stated in this Plan. This litigation injunction is subject to the default
provisions set forth in Section XI(B), supra. .
B. Default
Upon confirmation of a Chapter 11 Plan, the Plan operates as a contract between the Debtor
and its creditors A default occurs if the Debtor fails to make any required payments contained in
the Plan. Each creditor, regardless of class, shall notify the Debtor and its Counsel of the default
and allow 14 days for the Debtor to cure such default. Notice of default must be made in writing to
the Debtor and its Counsel and delivered by messenger or overnight delivery service with delivery
completed (and the notice clock started) when it is delivered during normal business hours to the
Debtor or Reorganized Debtor and its counsel, If no one is there (or if no one agrees to accept
delivery) during normal business hours, then leaving the notice there during normal business hours
would constitute completion of delivery. Notice of default shall be given to the following:
Mr. Herbert C. Jeffries
24900 Ford Road
Porter, Texas 77365
and
Julie M. Koenig
815 Walker, Suite 1040
Houston, Texas 77002
If the Debtor fails to cure the default within the 14 day period, the Creditor sending notice
of default has the right to bring a lawsuit in the State District Court in Montgomery County, Texas
against the Debtor or to apply to the Federal Bankruptcy Court for relief. In addition, if the

Debtor fails to cure the default within the 14 day period, the IRS may also pursue all of its remedies

under Title 26 of the United States Code.

Plan of Reorganization - HC Jeffries Tower Company Page 19°
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 20 of 23

XII.
Jurisdiction of the Court

The Court shall retain jurisdiction to insure that this Plan is carried out and to determine

any other matters in connection with this case, including, but not being limited to the following:

(a)

(b)

(c)
(d)

(e)

(f)

(g)

Determining all valid liens and claims, as well as the amounts, against the
Debtor and its property;

Allowing the Debtor to enforce after confirmation any claims or causes of
action which exist in the Debtor's favor as Debtor-in-Possession (which are
the same claims or causes of action existing in favor of a Trustee in
Bankruptcy) and which may not have been previously enforced by the
Debtor;

Settling any disputes between the Debtor and its creditors;

Continuing jurisdiction, staying enforcement of any claims or liens until
consummation of its plan;

Retaining jurisdiction to sell any property of the Debtor, after confirmation,
free and clear of all claims;

Retaining jurisdiction to enter orders in aid of consummation of the Plan;
and,

Retaining such other jurisdiction as will insure that the intents and purposes

of this Plan are fulfilled.

Plan of Reorganization - HC Jeffries Tower Company Page 20
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 21 of 23

XIIL
Miscellaneous Provisions

1. All claims and causes of action in favor of the Debtor are hereby reserved to be
prosecuted after confirmation.

2. |. Whenever the word "confirmation" is used in this Plan, it is intended to mean that
date upon which the order confirming this Plan as entered by this Court becomes final and
unappealable.

3. Herbert C. Jeffries shall act as the Disbursing Agent under this Plan.

4. . Thirty days after confirmation, title to the remaining property of the Debtor, if any,
will vest in the Reorganized Debtor, and the jurisdiction of the Court will cease, except as provided
herein above. However, the reinvesting of title shall not extinguish the rights and powers of the
Debtor, but shall include the assignment of such rights and powers of the Debtor so that they may
prosecute claims after confirmation. Creditors shall retain their ability to utilize rights under 11
U.S.C. Section 1112(b)(8). Upon a conversion of this case to Chapter 7, all property re-vested in
the Debtor under the Plan, or subsequently acquired, shall constitute property of the bankruptcy
estate in the converted case.

5. Notwithstanding anything contained hereinabove, the Debtor reserves the right to
object to and/or defend against any and all claims filed in this case.

6. The Debtor utilizes an accrual basis for his accounting.

Plan of Reorganization - HC Jeffries Tower Company Page 21
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 22 of 23

XIV.
Interim Operation

| From and after the filing of this Plan and until such time as the order confirming this Plan
has become final, this Plan has failed and another plan is proposed and acted upon, or an appeal has
been filed and disposed of, or an order of adjudication of bankruptcy is entered, the Debtor shall
continue in its current status on the terms and conditions heretofore authorized by orders of the
Bankruptcy Court. When the order of confirmation approving and confirming the Plan has
become final and non-appealable, the rights and duties of the Debtor as Debtor-in-Possession
appointed pursuant to order of the Bankruptcy Court shall terminate, provided that the Debtor
performs all acts and executes any and all documents, instruments, and agreements which it is
required to execute to consummate and carry out this Plan.

The Debtor also propose that all debts incurred after the filing of the petition initiating this
proceeding and during the pendency of this proceeding, will be or shall have been paid in full and
if not paid shall be entitled to payment under Class 1 hereunder.

The stay of actions and lien enforcement and all other matters provided for by Bankruptcy
Code §362 shall remain effective and in full force until consummation of this Plan.

Respectfully submitted this 15 day of October, 2018.

H.C. Jeffries Tower Company, Inc.

, By:__/s/ Herbert C. Jeffries, President
Herbert C. Jeffries, President

' Plan of Reorganization - HC Jeffries Tower Company Page 22
Case 17-35027 Document 155 Filed in TXSB on 10/15/18 Page 23 of 23

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Plan of Reorganization - HC Jeffries Tower Company

Page 23
